            Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 1 of 8 PAGEID #: 1567

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                           UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF OHIO                     G
                                                                           )
              UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                   V.                                      )
                                                                           )
                                                                                   Case Number: 1: 18cr128-4
                                                                           )
                            Jan Murrell                                    )       USM Number: 77829-061
                                                                           )
                                                                           )       Kory Jackson, Esq.
                                                                           )       Defendant' s Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)            1 of the Indictment
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended
21 USC 846 and                   Conspiracy to Distribute 40 Grams or More of a                             9/17/2018

841(a)(1) and (b)(1)(8)          Mixture of Substance Containing a Detectable Amount

                                 of Fentanyl

       The defendant is sentenced as provided in pages 2 through               _ 8_ _      of this judgment. The sentence is imposed pursuant to
the Sentencing Reforn1 Act of 1984.
0 The defendant has been found not guilty on count(s)
 ~ Count(s)     2-4, 7                                    Dis      ~ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines , restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                          Date oflmp~ t~ ~ L ~/ -



                                                                           ~ L ~-
                                                                          Signature of Judge




                                                                                      Michael R. Barrett, United States District Judge
                                                                          Name and Title of Judge




                                                                          Date
                                                                               ~2,7                 - --)
                                                                                                            2,.C)~/
            Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 2 of 8 PAGEID #: 1568


AO 2458 (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                      Judgment - Page   2   of   8
 DEFENDANT: Jan Murrell
 CASE NUMBER: 1: 18cr128-4

                                                              IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
Count 1 : 108 months




      � The court makes the following recommendations to the Bureau of Prisons:
          The defendant be placed at BOP facility nearest Cincinnati, Ohio;
          The defendant be permitted to participate in a substance abuse and mental health treatment programs;
          The defendant be permitted to participate in GED program.


      � The defendant is remanded to the custody of the United States Marshal.

      0 The defendant shall surrender to the United States Marshal for this district:

           D   at                                D     a.m.     D   p.m.     on

           D   as notified by the United States Marshal.

      0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           D   before 2 p.m. on

           D   as notified by the United States Marshal.

           0 as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                         to

 at                                                  , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
             Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 3 of 8 PAGEID #: 1569


AO 245 B (Rev. 09/19)   Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                       Judgment- Page          of
DEFENDANT: Jan Murrell
CASE NUMBER: 1:18cr128-4
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

Count 1: Five (5) years (subject to review after four (4) years).




                                                       MANDATORY CONDITIONS
I.    You must not commit another federal , state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse . (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S .C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
            Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 4 of 8 PAGEID #: 1570


AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                Judgmcnt- Pagc                 of
DEFENDANT : Jan Murrell
CASE NUMBER: 1:18cr128-4

                                       ST AND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. Jfyou plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must pennit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. Jfyou plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I0
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the pennission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
I 3.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                      Date
           Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 5 of 8 PAGEID #: 1571


AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3B - Supervised Release
                                                                                            Judgment-Page   of   8
DEFENDANT: Jan Murrell
CASE NUMBER: 1:18cr128-4

                                      ADDITIONAL SUPERVISED RELEASE TERMS
1.) The defendant shall provide the probation officer with access to any requested financial
information and authorize the release of any financial information.

2.) The defendant shall participate in drug treatment and follow the rules and regulations of
that program . The probation officer will supervise his participation in the program
(provider, location , modality, duration , intensity, etc.). The defendant shall pay a co-pay
for treatment not to exceed $25, based on his ability to pay, as determined by the probation
officer.

3.) The defendant must submit to substance abuse testing to determine if the defendant has
used a prohibited substance. The defendant must not attempt to obstruct or tamper with
the testing methods.

4.) The defendant will participate in a GED program as directed by his probation officer.

5.) The defendant must participate in a mental health treatment program and follow the rules
and regulations of that program. The probation officer, in consultation with the treatment
provider, will supervise the defendant's participation in the program (provider, location,
modality, duration, intensity, etc.).
              Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 6 of 8 PAGEID #: 1572

AO 245 B (Rev . 09/1 9)    Judgment in a Criminal Case
                           Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment -   Page       6    of        8
 DEFENDANT:Jan Murrell
 CASE NUMBER:1:18cr128-4
                                                    CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .


                          Assessment                Restitution               Fine                    AV AA Assessment*              JVT A Assessment**
 TOTALS              $    100.00                $                        $                        $                              $




 D The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priori!)' order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid .

 Name of Pavee                                                       Total Loss***                Restitution Ordered            Priority or Percentage




 TOTALS                                   $                           0.00           $                      0.00


 D      Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U .S.C. § 3612(g).

 D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        D     the interest requirement is waived for the             D fine     D restitution .
        D     the interest requirement for the          D     fine    D rest itution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018 , Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22 .
 *** Findings for the total amount oflosses are required under Chapters I 09A, 110, I lOA, and I 13A of Title                18 for offenses committed on
 or after September 13, 1994, but before April 23 , 1996.
            Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 7 of 8 PAGEID #: 1573

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                               Judgment -   Page   7       of
 DEFENDANT: Jan Murrell
 CASE NUMBER: 1:18cr128-4

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant ' s ability to pay. payment of the total criminal monetary penalties is due as follows :

 A     ~    Lump sum payment of$          100.p_g_               due immediately, balance due


            •     not later than                                     , or
            •     in accordance with
                                         •    C,
                                                     •    D,    •     E, or     D F below; or
 B    •     Payment to begin immediately (may be combined with                DC,         D D,or       D F below); or

 C    D Payment in equal             ___             (e.g., weekly, monthly, quarterly) installments of $               over a period of
                           (e.g .. months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

 D    D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $              over a period of
                           {e.g., months or years) , to commence              _ _ _ {e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    D Payment during the tenn of supervised release will commence within       _ _ _ _ _ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D    Special instructions regarding the payment of criminal monetary penalties :




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons ' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                 Corresponding Payee,
      (including defendant numhe1)                          Total Amount                        Amount                           if appropriate




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:
      $5,000 in U.S. Currency

 Payments shall be applied in the following order: (I) assessment, (2) restitution princ!.J?al, (3) restitution interest, (4) AV AA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
            Case: 1:18-cr-00128-MRB Doc #: 445 Filed: 11/01/21 Page: 8 of 8 PAGEID #: 1574
AO 245 B (Rev. 09/ 19)   Judgment in a Crimi nal Case
                         Sheet 6B -   Schedule of Payments
                                                                                      Judgment-Page   of
DEFENDANT: Jan Murrell
CASE NUMBER: 1:18cr128-4

                                                ADDITIONAL FORFEITED PROPERTY
  (a) $89,845 seized from Oden at the search warrant executed on September 17,
  2018 , at 258 Earnshaw Avenue , Cincinnati, Ohio;

  (b) $11,000 seized from Diaz-Gomez on September 17, 2018, at the search warrant
  executed at 569 Hoge Street, Cincinnati , Ohio;

  (c) $2,259 seized from Diaz-Gomez on September 17, 2018;

  (d) $6,022 seized from Bloodworth on September 17, 2018, at the search warrant
  executed at 605 Rushton Road, Cincinnati, Ohio;

  (e) $5,000 seized from Murrell on September 17, 2018, at the search warrant
  executed at 255 Earnshaw Avenue, Cincinnati, Ohio;

  (f) $9,041 seized from Moore on September 18, 2018;

  (g) a 2011 lnfiniti, Model QY80, bearing Vehicle Identification Number (VIN)
  JN8AZ2NE289003933 with Ohio license plate HGS2950 seized from Anthony
  Phillips on September 17, 2018;

  (h) a 2013 Hyundai , Model Genesis, bearing VIN : KMHGH4JH2DU070967 with
  Ohio license plate HIM6312 seized at the search warrant executed at 258
  Earnshaw Avenue , Cincinnati , Ohio on September 17, 2018;

  (i) a Kel-Tec, Model P3AT, .380 caliber, semi-automatic handgun, bearing serial
  number K5K88;

  U) five rounds of .380 caliber ammunition ;

  (k) a Glock, Model 23, .40 caliber, semi-automatic handgun, bearing serial number
  DAY984; and

  (I) twenty rounds of .40 caliber ammunition
